                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:22-CV-15-FL

  ROBERT TERRACINO and
  BRADIE TERRACINO, Individuals,

          Plaintiffs,                                   DEFENDANT’S MEMORANDUM
                                                         IN SUPPORT OF EXPEDITED
                                                            MOTION TO COMPEL
  v.                                                            DISCOVERY

  TRIMACO, INC.,

          Defendant.



       Defendant Trimaco, Inc. (“Trimaco”), pursuant to Fed. R. Civ. P. 26, 34, and 37, hereby

submits this Memorandum in support of its Expedited Motion to Compel Robert and Bradie

Terracino (“Plaintiffs”) to produce all documents requested in Defendant’s Requests for

Production related to Claim Construction (the “Requests”) (Exhibit 1), specifically with respect to

Request No. 2. Request No. 2 sought documents related to the “Opinion Regarding Infringement

of U.S. Patent No. 9,044,917” (“Opinion”), which Plaintiffs attached to their complaint for patent

infringement (“Complaint”). Defendant also seeks fees for the expenses incurred in making this

Motion, pursuant to Fed. R. Civ. P. 37(a)(5)(A). Further, because discovery on claim construction

closed on December 7, 2023, Defendant requests that the Court order Plaintiffs to respond to this

Motion within seven days, and upon grant of this Motion, to produce the requested documents well

in advance of the February 1, 2024 Markman hearing.
                                        INTRODUCTION

       Plaintiffs assert a claim of patent infringement of U.S. Patent No. 9,044,917 (“the ‘917

Patent”) arising from the sale of Trimaco’s “Stay Put®” and “Stay Put Plus®” canvas drop cloths.

In Plaintiffs’ Complaint against Trimaco, Plaintiffs chose to rely on an opinion of counsel for their

claim of infringement. See Dkt. 1-8. In doing so, Plaintiffs waived both attorney-client privilege

and work product immunity for documents that fall within the scope of this subject matter waiver.

Accordingly, Defendant requested all documents related to this subject matter waiver. These

documents are highly relevant to the claim construction process, including because the Opinion

fails to analyze the transitional phrase “consisting of.” Despite Plaintiffs’ waiver, however,

Plaintiffs maintain that any such documents are privileged and refuse to produce them. This refusal

comes even after Plaintiffs were more than two months late in lodging any response to Defendant’s

Requests, despite multiple attempts by Defendant to obtain one.

       This Court should compel production of all documents responsive to Defendant’s Requests

and order Plaintiffs to pay for all reasonable expenses incurred in making this motion, including

attorney’s fees. In light of the December 7, 2023 close of discovery related to Markman discovery

and the Court’s hearing scheduled for February 1, 2024, moreover, this Court should require a

response to Defendant’s motion no later than December 27, 2023. Furthermore, Defendant is

entitled to obtain these documents in advance of the Markman hearing, now scheduled for

February 1, 2024.

                                    BACKGROUND FACTS

       Plaintiffs filed their Complaint on January 7th, 2022. See Dkt. 1. In the Complaint, Plaintiffs

rely on this “Opinion Regarding Infringement of U.S. Patent No. 9,044,917” in their claim for

patent infringement against Defendant. Id. at ¶ 61, Dkt. 1-8.




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       Defendant served its Requests on Plaintiffs on August 24th, 2023. Plaintiffs acknowledged

receipt of the Requests on the same day. Pursuant to Fed. R. Civ. P. 26 and 34, responses,

objections, and/or documents were to be produced within 30 days. Indeed, Defendant confirmed

this with explicit instructions in the Requests setting the time for response as within 30 days of

service. See Ex. 1, at 1. Plaintiffs did not respond to the Requests as required, serving neither

objections, responses, nor documents within the time provided.

       Counsel for Defendant followed up with regard to the lack of responses and objections on

October 30th, 2023. See Exhibit 2 at 5. Counsel for Plaintiffs did not respond. On November 15th,

2023, counsel for Defendant informed counsel for Plaintiffs that, in view of the complete lack of

response, Defendant would be forced to file a motion to compel. Id. at 4. Plaintiffs responded on

November 17, 2023, indicating that they would produce “responses tomorrow.” Id. at 4. That same

day, Defendant sought confirmation that Plaintiffs would produce the documents as requested

given that Defendant had already begun drafting a motion to compel in the interim and needed to

ensure that all requested documents would be produced during the timeline for Markman

discovery. Defendant informed Plaintiffs that it would file a motion to compel unless documents

and responses were provided by November 24, 2023. Id. Counsel for Plaintiffs responded: “I am

confirming that we will produce everything that we have responsive to the discovery requests.” Id.

at 3. Plaintiffs did not provide “responses tomorrow,” as they promised, or by November 24, 2023,

as Defendant specified. Instead, once more Plaintiffs failed to respond, requiring counsel for

Defendant to follow up on November 27, 2023. Id. at 2. This time, Plaintiffs promised responses

that day, and on November 27, 2023, they provided documents responsive to the discovery

requests. See Exhibit 3. However, Plaintiffs produced only a total of eleven pages, and nothing in

response to Request No. 2. Id.




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       Defendant’s Request No. 2 specifically references the Opinion relied on by Plaintiffs and

states: “Produce all Documents constituting or concerning any opinion or draft opinions,

assessments, or evaluations made by You or on Your behalf, whether written or oral, relating to

the scope, claim interpretation, infringement, validity, or enforceability of the Asserted Claims of

the ’917 Patent, and including but not limited to any such documents related to Docket Entry 1-8,

dated January 7, 2022.” See Ex. 1 at Request No. 2. Despite agreeing to produce all documents as

requested, Plaintiffs responded: “All documents that are potentially responsive were created in

consultation with litigation counsel and are therefore privileged. Any other documents responsive

to this request precede the engagement of expert patent counsel and are the advisory opinion of

such expert patent counsel. A privilege log will be provided in support of this response.” See Ex.

3 at 2. On December 1, 2023, Defendant informed Plaintiffs that their failure to provide documents

associated with the Opinion rendered their production deficient and sought confirmation that they

would provide the requested documents by December 4, 2023. Ex. 2 at 1. Once again, Plaintiffs

failed to respond. After further exchange related to this motion to compel, on December 13, 2023,

the Plaintiffs stated that, “there is no additional information responsive to your discovery requests.”

See Exhibit 4 at 2. Defendant sought clarification from Plaintiffs as to whether Plaintiffs were

withholding information based on privilege or, alternatively, had failed to maintain documents

related to the opinion of counsel such that there were no documents. Id. at 1. Once again, Plaintiffs

did not respond.1 As of the date of filing this motion, Plaintiffs have also failed to produce a

privilege log, which could have clarified this confusion.




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  This failure to heed deadlines has been a pattern throughout this litigation, in which Plaintiffs
routinely fail to follow the deadlines this Court imposes. In due course, and especially should
this conduct continue as it has to this day, Trimaco reserves the right to bring an appropriate
dispositive sanction motion.


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                                           ARGUMENT

       A.      Plaintiffs Have Waived the Attorney-Client Privilege by Relying on an
               Opinion of Counsel.

       “The attorney-client privilege protects the confidentiality of communications between

attorney and client made for the purpose of obtaining legal advice.” In re EchoStar Communs.

Corp., 448 F.3d 1294, 1300 (Fed. Cir. 2006). This privilege is at the discretion of the client. Id.

The client can waive the attorney-client privilege when, for instance, it uses the advice to establish

a defense. Id. “It [is] established that if a party interjects the ‘advice of counsel’ as an essential

element of a claim or defense, then all advice received concerning the same subject matter is

discoverable, not subject to protection by the attorney-client privilege, and, by logical extension,

admissible at trial.” United States ex rel. Drakeford v. Tuomey, 792 F.3d 364, 391 (4th Cir. 2015).

Thus, “[W]hen a party defends its actions by disclosing an attorney-client communication, it

waives the attorney-client privilege as to all such communications regarding the same subject

matter. In re EchoStar Communs. Corp., 448 F.3d at 1300.2

       Plaintiffs chose to rely upon the Opinion in their complaint against Defendant. Plaintiffs

now seek to shield themselves from disclosure of other materials related to this Opinion under a

false guise of attorney-client privilege. Having chosen to waive privilege at the very beginning of

this lawsuit, Plaintiffs cannot now hide behind other communications with opinion counsel. This

Court should compel Plaintiffs to produce all documents responsive to Defendant’s Requests

within the scope of their waiver.




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 Federal Circuit law applies in connection with the determination of what materials are
discoverable in a patent case “if those materials relate to an issue of substantive patent law.” Id.
at 1298 (citations omitted).


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       B.      Plaintiffs Have Waived Certain Work Product Immunity by Relying on the
               Opinion of Counsel.

       Likewise, “a party may discover work product if the party waives its immunity.” Id. at

1302. In determining where to draw the line on the scope of the waiver, a district court “should

balance the policies to prevent sword-and-shield litigation tactics with the policy to protect work

product.” Id. This waiver or work product protection extends to “factual” or “non-opinion” work

product “concerning the same subject matter as the disclosed work product.” Id. The court in

Echostar recognized two categories of work product that are waived in connection with production

of an opinion of counsel: “documents that embody a communication between the attorney and

client concerning the subject matter of the case, such as a traditional opinion letter;” and

“documents that discuss a communication between attorney and client concerning the subject

matter of the case but are not themselves communications to or from the client.” Id.

       Plaintiffs have only produced the Opinion itself. Given that Plaintiffs have waived the

attorney client privilege and work product immunity by relying on the Opinion, Plaintiffs also

waive this same privilege with respect to other documents relating to the Opinion. Even still,

Plaintiffs have not yet provided the privilege log that they have promised so Defendant is unable

to determine definitively whether additional documents fall within the scope of the waiver.

                                               ***

       This Court should compel Plaintiffs to produce all documents responsive to Defendant’s

Requests within the scope of waiver.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs’ disclosure and reliance on an Opinion of Counsel has

waived attorney-client privilege and work product immunity for all other documents related to the

same subject matter, and within the scope of waiver. Pursuant to Fed. R. Civ. P. 37(a)(3)(B)(iv),



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Defendant moves this Court to compel Plaintiffs to produce all documents responsive to the

Requests. Further, pursuant to Fed. R. Civ. P. 37(a)(5)(A), Defendant requests that Plaintiffs be

ordered to pay all reasonable expenses incurred in making this Motion, including attorney’s fees.

       Respectfully submitted this 18th day of December, 2023.


                                             /s/ Deborah Pollack-Milgate
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                                                        *by special appearance
                                                        **special appearance forthcoming

                                             Counsel for Defendant Trimaco, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 18, 2023, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

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